                          Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 1 of 13

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Galveston Bay Operating Company, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  708 Main Street, 10th Floor
                                  Houston, TX 77002
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 2 of 13
Debtor    Galveston Bay Operating Company, LLC                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.           This case is related to and involves the assets from:
     years?                                             In re Galveston Bay Energy, LLC, Case No. 16-31923-DRJ (Bankr. S.D. Tex., April 13, 2016)
     If more than 2 cases, attach a
                                                 District   Southern District, Texas      When     4/13/2016                  Case number   16-31923
     separate list.
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Galveston Bay Properties, LLC                                 Relationship              Affiliate
                                                            Southern District of
                                                            Texas, Houston
                                                 District   Division                      When    11/01/19                Case number, if known



Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                            Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 3 of 13
Debtor   Galveston Bay Operating Company, LLC                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 4 of 13




      /s/ Kell C. Mercer
                               Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 5 of 13


 Fill in this information to identify the case:
 Debtor name Galveston Bay Operating Company, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS,                                                                              Check if this is an
                                                HOUSTON DIVISION
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alliance Energy                                                                                                                                                          $66,962.90
 Services, LLC
 PO Box 999
 Larose, LA 70373
 Alliance Offshore                                                                                                                                                      $106,593.33
 LLC
 PO Box 999
 Larose, LA 70373
 Archrock Services,                                                                     Disputed                                                                        $254,073.85
 LP                                                                                     Subject to
 9807 Katy Freeway,                                                                     Setoff
 Suite 100
 Houston, TX
 77024-1276
 Baywater Drilling,                                                                                                                                                     $205,798.42
 LLC
 668 South
 Hollywood Road
 Houma, LA 70360
 Crescent Drilling                                                                                                                                                        $58,213.76
 Foreman, Inc.
 2400 Veterans
 Memorial Blvd.,
 Suite 110
 Kenner, LA 70062
 CTI Fishing &                                                                                                                                                            $41,637.53
 Completions, Inc.
 PO Box 10360
 Liberty, TX 77575
 Eminent Oilfield                                                                                                                                                         $40,388.60
 Services
 1244 Wall Road
 Broussard, LA
 70518
 Energy Fishing &                                                                                                                                                         $94,873.49
 Rental Services, Inc.
 PO Box 116587
 Atlanta, GA 30368

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                               Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 6 of 13


 Debtor    Galveston Bay Operating Company, LLC                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Fairfield North                                                                                                                                                          $50,000.00
 America
 594 Sawdust Road,
 Suite 378
 Spring, TX 77380
 Haliburton                                                                                                                                                             $149,821.16
 4375 S. Loop 1604 E
 Elmendorf, TX 78112
 Holmes Road                                                                                                                                                              $36,333.33
 Recycling Company,
 Inc.
 2820 Holmes Road
 Houston, TX 77051
 Integrity Energy                                                                                                                                                         $40,904.19
 Solutions
 116 Diamond Creek
 Drive
 Broussard, LA
 70518-5322
 Oilfield                                                                                                                                                                 $35,302.71
 Instrumentation
 PO Box 51902
 Lafayette, LA
 70505-1902
 Patterson Rental                                                                                                                                                         $43,273.87
 Tools
 1081 Aillet Road
 Broussard, LA
 70518
 Peninsula Marine                                                                                                                                                       $135,796.30
 Inc.
 P.O. Box 501
 Port Bolivar, TX
 77650-0501
 Quality Energy                                                                                                                                                         $111,236.65
 Services Inc.
 PO Box 3190
 Houma, LA 70361
 Rogue Industrial                                                                                                                                                         $42,119.57
 Group, LLC
 PO Box 1794
 Montgomery, TX
 77356
 USA Compression                                                                                                                                                          $40,451.61
 PO Box 974206
 Dallas, TX
 75397-4206
 Wellhead Control                                                                                                                                                         $58,947.54
 Products
 501 N. Richey Street
 Pasadena, TX 77506



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                               Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 7 of 13


 Debtor    Galveston Bay Operating Company, LLC                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Wood Group PSN,                                                                                                                                                          $40,563.59
 Inc.
 5430 N. Hwy 146
 Baytown, TX 77523




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 8 of 13
                          Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 9 of 13

                                                               United States Bankruptcy Court
                                                         Southern District of Texas, Houston Division
 In re      Galveston Bay Operating Company, LLC                                                                      Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Clow Partners                                                       Member           20.163%                                    Member
 27660 Central Drive
 Los Altos, CA 94022

 Grace Oil Investments LLC                                           Member           39.72%                                     Member
 5027 S. 136th Ave., Unit 605
 Tulsa, OK 74134

 Petroleum Investments, LLC                                          Member           18.21%                                     Member
 605 W. 42nd Street, Apt 33F
 New York, NY 10036

 Polk Family Petroleum LP                                            Member           14.037%                                    Member
 c/o Kelsea Polk
 1111601 Shadow Creek Drive
 Manor, TX 78653-3892

 Prospect Oil Company, LLC                                           Member           2.630%                                     Member
 c/o Walter H. Walne
 4900 Woodway, Suite 975
 Houston, TX 77056-1860

 Rubicon Resources, LLC                                              Member           2.630%                                     Member
 Attn: Pat Robinson
 3968 Reagan Lane
 Robstown, TX 78380

 Westwood Energy, Inc.                                               Member           2.630%                                     Member
 c/o James Linnemann
 5632 O'Connor Ct.
 Irving, TX 75062-3781


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date November 1, 2019                                                        Signature /s/ Andrey Platunov
                                                                                            Andrey Platunov

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.



Sheet 1 of 1 in List of Equity Security Holders
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                         Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 10 of 13




                                                               United States Bankruptcy Court
                                                         Southern District of Texas, Houston Division
 In re      Galveston Bay Operating Company, LLC                                                       Case No.
                                                                                  Debtor(s)            Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Galveston Bay Operating Company, LLC in the above captioned action, certifies
that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s)
10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:
 Clow Partners
 27660 Central Drive
 Los Altos, CA 94022
 Grace Oil Investments LLC
 5027 S. 136th Ave., Unit 605
 Tulsa, OK 74134
 Petroleum Investments, LLC
 605 W. 42nd Street, Apt 33F
 New York, NY 10036
 Polk Family Petroleum LP
 c/o Kelsea Polk
 1111601 Shadow Creek Drive
 Manor, TX 78653-3892




 None [Check if applicable]




 November 1, 2019                                                    /s/ Kell C. Mercer Tex. Bar No.
 Date                                                                Kell C. Mercer
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Galveston Bay Operating Company, LLC
                                                                     Kell C. Mercer, P.C.
                                                                     1602 E. Cesar Chavez Street
                                                                     Austin, TX 78702
                                                                     (512) 627-3512
                                                                     kell.mercer@mercer-law-pc.com




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       Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 11 of 13



                       WRITTEN CONSENT RESOLUTIONS
                        OF MEMBERS AND MANAGER

                                             of

                GALVESTON BAY OPERATING COMPANY LLC

                                     October 31, 2019

      In lieu of a meeting, the below signed Members and Managers of Galveston By
Operating Company LLC (the “Company”) do hereby approve and adopt the following
consent resolutions as authorized by Sections 4.9 and 5.13 of the Amended and Restated
Company Agreement of the Company:

        RESOLVED, that in the judgment of the Members and the Managers, it is
desirable and in the best interests of the Company, its creditors, members and other
interested parties, that the Company be authorized and empowered to file, at such time as
it is deemed necessary by the appropriate officer of the Company, a petition for relief (the
“Petition”) under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of Texas, Houston
Division (the “Bankruptcy Court”); and it is further

       RESOLVED, that Andrey Platunov, the President and a Manager of the Company,
is hereby authorized, directed and empowered, on behalf of and in the name of the
Company, (i) to execute and verify the Petition and cause the Petition to be filed with the
Bankruptcy Court and (ii) to perform any and all such acts as are reasonable, advisable,
expedient, convenient, proper and necessary to effect any of the foregoing; and it is further

       RESOLVED, that Andrey Platunov, the President and a Manager of the Company,
is authorized, directed and empowered, on behalf of and in the name of the Company, to
execute, verify and file or cause to be filed all other reasonable and customary
applications, schedules, lists, motions and other papers and documents; and it is further

       RESOLVED, that Andrey Platunov, the President and a Manager of the Company,
is hereby authorized, directed and empowered to open any new bank accounts, as needed,
to be designated as "Debtor-in-Possession" bank accounts pursuant to the filing of the
petition under Chapter 11 of the Bankruptcy Code, and to include Andrey Platunov, the
President of the Company, as the signing party on such accounts, as representative of the
Company; and it is further

      RESOLVED, that effective October 23, 2019, Andrey Platunov, the President and
a Manager of the Company, is authorized, directed and empowered to retain on behalf of
the Company, Kell C. Mercer and the law firm of Kell C. Mercer, P.C. and Chris Adams
and the law firm of Okin Adams, LLC, each as bankruptcy counsel, to represent the
Company in the aforesaid Chapter 11 bankruptcy case and all other related matters in




                                             1
Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 12 of 13
Case 19-36077 Document 1 Filed in TXSB on 11/01/19 Page 13 of 13
